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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                    www.flsb.uscourts.gov

In re:   Judith Holmes

                                                  Case No: 19-25604
                                                  Chapter 13
    Debtor                  /

                       OBJECTION TO CLAIM ON SHORTENED
                                    NOTICE


                      IMPORTANT NOTICE TO CREDITOR:
                    THIS IS AN OBJECTION TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the
 priority status of the claim filed by you or on your behalf. Please read this
 objection carefully to identify which claim is objected to and what disposition of
 your claim is recommended. Upon the filing of this objection an expedited hearing
 on this objection will be scheduled on the date already scheduled for the
 confirmation hearing in accordance with Local Rule 3007-1(B)(2).

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the debtor
objects to the following claim filed in this case:

Claim No. 1

Filed by: Nationstar Mortgage dba Mr. Cooper

Amount: $18,598.14

Debtor objects to this Claim because Nationstar is demanding fees to which it is not
entitled.

Page 5 of 7 of Nationstar's POC lists all corporate advances. Debtor objects to the 4
entries of "posting costs" of $70, $70, $911 and $5, which total $1,056. There was no
publication as to filing of the foreclosure action in the state court foreclosure case and
the debtor was personally served so there were no posting charges.

Debtor also objects to the foreclosure sale publication fee of $225 since debtor filed her
Suggestion of Bankruptcy in the state foreclosure case on December 27, 2019, and this
publication fee was incurred on January 14, 2020, after the stay was in effect.

Debtor proposes that the amount of arrears be reduced by $1,281.00 for a total arrears
of $17,317.14
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The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule
2002- 1(F) must be filed with the court when the objection and notice of hearing are
served.


DATED: March 5, 2020.


                           Respectfully submitted,
                           LEGAL SERVICES OF GREATER
                           MIAMI, INC.
                           By                 /s/
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                           Florida Bar No. 0241970
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